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IN THE UN;;TEI) STATES D:STRICT COURT , _ __ w . ._
FoR THE NORTHERN DISTR;CT oF TEXAS Zgiiig'iiiiii 158 PH352
FORT WoRfrH DIVISION
umw cz.am<_.___
oNITED STATES oil AMERICA

v. No.

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INFORMATION

CHR;S'rom-I:ER CRoT'IY (1)

The United States Attorney Charges:

QCM
Possession of a Controlled Substance With Intent to Distribute
(Violation of 21 U.S.C. §§ 841(a)(1) and (b)(l)(E))

On or about Fo‘oruary 20, 2018, in the Fort Worth Division of the Northern Distriot
of Texas, defendant Christopher Crotty did knowingly and intentionally possess With
intent to distribute a mixture and Substance containing a detectable amount of steroids, a

Sol'iedule HI controlled Substanoe.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(l)(E).

ERIN NEALY COX
UNITED STATES ATTORNEY

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